                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                         Case No. 21-3101-01-CR-S-MDH

 JAMES DIXON,

                                Defendant.

                   MOTION OF THE UNITED STATES FOR PRETRIAL
                    DETENTION HEARING PURSUANT TO TITLE 18,
                       UNITED STATES CODE, SECTION 3142(f)

       The United States of America, by the Acting United States Attorney for the Western

District of Missouri, does hereby move that the Court order a pretrial detention hearing pursuant

to 18 U.S.C. ' 3142(f), for the purpose of presenting evidence to determine whether any condition

or combination of conditions of release will reasonably assure the safety of other persons and the

community and the appearance of the defendant James Dixon. As grounds for the motion, the

United States submits that:

       1.       There is probable cause to believe Dixon committed the offenses described in

                Counts 1 through 4 of the indictment;

       2.       Dixon poses a risk to the safety of others in the community; and

       2.       Dixon poses a risk of flight.

                                SUPPORTING SUGGESTIONS

   1. Dixon is charged with offenses under the Controlled Substances Act for which
      imprisonment for 10 years or more is possible.

       Subsection 3142(f), of Title 18, United States Code provides that a hearing must be held

by the appropriate judicial officer to determine whether any condition or combination of conditions




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will reasonably assure the defendant=s appearance and the safety of any other person in the

community if the attorney for the government moves for such a hearing and if the case involves

an offense under the Controlled Substances Act (21 U.S.C. ' 801, et seq.) for which imprisonment

for 10 years or more is possible. In this case, the defendant is charged with two such offenses:

       1.       Possession with intent to distribute 50 grams or more of a mixture or substance

                containing a detectable amount of methamphetamine, in violation of 21 U.S.C.

                § 841(a)(1) and (b)(1)(B), a crime for which the possible term of imprisonment is

                not less than five years and not more than 40 years; and

       2.       Possession with intent to distribute a mixture or substance containing a detectable

                amount of methamphetamine on premises where minor child was present or

                resided, in violation of 21 U.S.C. § 860a, a crime for which the possible term of

                imprisonment is not more than 20 years.

   2. There is probable cause that Dixon committed the offenses charged.

       Upon a showing that probable cause exists to believe the defendant committed the offenses

alleged, there is a legal presumption, subject to rebuttal by the defendant, that no condition or

combination of conditions will reasonably assure his appearance or assure the safety of the

community. See United States v. Apker, 964 F.2d 742, 743-44 (8th Cir. 1992); United States v.

Dorsey, 852 F.2d 1068, 1069-70 (8th Cir. 1988). In this case, the indictment returned by the Grand

Jury provides a showing of probable cause. Section 3142(e) provides a presumption that a

defendant will not appear for subsequent court appearances if there is probable cause to believe

that the defendant committed an offense listed under the Controlled Substance Act for which the

maximum term of imprisonment is ten years or more. Under the Bail Reform Act, there is also a

presumption that the likelihood of flight increases with the severity of the charges, the strength of



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the government=s case, and the penalty which conviction could bring. See Apker, 964 F.2d at 744.

       This case arose from the execution of a search warrant at Dixon’s residence in Springfield,

Missouri, on January 21, 2021. Inside the residence, officers located five firearms, two of which

held   high-capacity magazines.       Officers   also located     approximately     106 grams      of

methamphetamine, several small clear plastic baggies, digital scales with crystalline residue, and

assorted ammunition. Present inside the home were Dixon, Dixon’s seven-year-old child, and

Zachary Whiteley. Whiteley is a convicted felon who was indicted on August 31, 2021, in Case

No. 21-3102-01-CR-S-BCW, in the United States District Court for the Western District of

Missouri.

       In a post-Miranda interview, Dixon admitted to selling methamphetamine. Dixon told the

officers that he was unemployed and purchased approximately four ounces of methamphetamine

at a time for $2,000. Dixon was previously convicted of the felony offenses of distribution,

delivery, manufacture, possession with intent to a distribution of a controlled substance in the State

of Missouri. Dixon’s criminal conduct shows that he poses an immediate danger to his youngest

child as well as to the community at large. Dixon’s lack of employment, his association with other

felons, and the severity of the charges show that Dixon poses a flight risk.




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                                        CONCLUSION

       In sum, there is probable cause to believe that Dixon committed the offenses alleged in the

indictment, crimes for which the maximum term of imprisonment is 10 years or more. Dixon poses

both a risk to the safety of the community and risk of flight. For these reasons, the United States

requests that Dixon be detained without bail.


                                                         Respectfully submitted,
                                                         TERESA A. MOORE
                                                         Acting United States Attorney

                                                By        /s/ Megan Chalifoux
                                                         Megan Chalifoux
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                                      Certificate of Service

        The undersigned hereby certifies that a copy of the foregoing was delivered on
September 7, 2021, to the CM-ECF system of the United States District Court for the Western
District of Missouri for electronic delivery to all counsel of record.


                                                /s/ Megan Chalifoux
                                                Megan Chalifoux
                                                Assistant United States Attorney




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